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                                      CAUSE NO.

MARINA MONTES AND LIDIA                               §   IN THE DISTRICT COURT
ELIZABETH GARCIA                                      §
Plaintiffs,                                           §
                                                      §
                                                      §         JUDICIAL DISTRICT
V.                                                    §
                                                      §
                                                      §
MICHAEL JAY MATLOCK AND                               §
QUALITY CARRIERS, INC.                                §
Defendants.                                           §   GALVESTON COUNTY, TEXAS


                                 PLAINTIFFS' ORIGINAL PETITION

     TO THE HONORABLE JUDGE OF SAID COURT:

            NOW COMES, Marina Montes and Lidia Elizabeth Garcia, hereinafter called Plaintiffs,

     complaining of Michael Jay Matlock ("Matlock") and Quality Carriers, Inc. ("Quality"),

     hereinafter called Defendants, and for cause of action show unto the Court the following:

                               DISCOVERY CONTROL PLAN LEVEL


            1.      Plaintiffs intend that discovery be conducted under Discovery Leve12.

                                       PARTIES A1o1D SERVICE

            2.      Plaintiffs are individuals who reside in Texas.

            3.      Defendant, Michael Jay Matlock, is an Individual who is a resident of Louisiana,

     and may be served with process at his home at the following address: 268 Hill Top Road,

     Shongaloo, Louisiana 71072. Service of said Defendant as described above can be affected by

     personal delivery.

            4.      Defendant, Quality Carriers, Inc., is foreign limited liability company doing

     business in the state of Texas for inonetary profit and may be served with process by serving its


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                                                  EXHIBIT A
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registered agent CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCO at the

following address: 211 E. 7th Street, Suite 620, Austin, Texas 78701. Service of said Defendant

as described above can be affected by personal delivery.


                                   JURISDICTION AND VENUE

        5.      The subject matter in controversy is within the jurisdictional limits of this court.

        6.      Plaintiffs seek:

                a.      only monetary relief of $200,000 and not less than $1,000,000 or less,

including damages of any kind, penalties, costs, expenses, pre judgment interest, and attorney

fees pursuant to TRCP 47 (c).

        8.     Venue and jurisdiction in Galveston County are proper in this cause under Section

15.002(a)(1) of the Texas Civil Practice and Remedies Code because one or all the Defendants

reside in this County, or the cause of action arose in this County.

                                              FACTS

        9.     On or about March 21, 2020, Plaintiffs were traveling at the intersection of East

FM 517 and FM 1266 in Galveston County, Texas. Plaintiff Marina Montes was driving and

Plaintiff Lidia Elizabeth Garcia was her passenger. Defendant Matlock was traveling in the same

direction, in the same intersection. Defendant Matlock was pulling a semi-trailer and was

attempting to make a left turn onto FM 1266. Plaintiffs were also making a left turn onto FM

1266. Defendant Matlock took a wide turn and collided with Plaintiffs. This caused Defendant

Matlock to strike Plaintiffs.

       10.     This collision occurred due to Defendant Michael Jay Matlock `s negligence. As a

result of Defendant's negligence, Plaintiff suffered injuries.


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       11.     Defendant Quality was the owner of the vehicle that Defendant Matlock drove at

the time of the collision. The vehicle was negligently entrusted to Michael Jay Matlock by

Quality Carriers, Inc. Defendant Matlock was also employed by Defendant Quality and was

acting within the scope of his employment at the time of the collision. Defendant Quality is

vicariously liable for the actions of Defendant Matlock.

                         PLAINTIFFS' CLAIM OF
          NEGLIGENCE AGAINST DEFENDANT MICHAEL JAY MATLOCK

       12.     Defendant had a duty to exercise the degree of care that a reasonably careful

person would use to avoid harm to others under circumstances similar to those described herein.

       13.     Plaintiffs' injuries were proximately caused by Defendant's negligent, careless

and reckless disregard of said duty.

       14.     The negligent, careless, and reckless disregard of duty of Defendant Michael Jay

Matlock consisted of, but is not limited to, the following acts and omissions:

               A.     In that Defendant failed to keep a proper lookout for Plaintiffs' safety that
                      would have been maintained by a person of ordinary prudence under the
                      same or similar circumstances;

               B.     In that Defendant failed to obey traffic lights and signals and caused the
                      collision with Plaintiffs;

               C.     In that Defendant failed to control his speed and collided with Plaintiffs;

               D.     In that Defendant failed to turn his motor vehicle in an effort to avoid the
                      collision complained of;

               E.      In that Defendant failed to apply the brakes on his vehicle in an effort to
                       avoid the collision complained of; and

               F.      In that Defendant failed to avoid the collision with Plaintiffs.




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   PLAINTIFFS' CLAIMS FOR NEGLIGIENT ENTRUSTMENT AND VICARIOUS
               LIABILITY AGAINST QUALITY VEHICLES, LLC

       15.       Plaintiffs will show that at the time of the collision that is the basis of this suit,

Defendant Matlock had authority to act on behalf of Defendant Quality. Defendant Quality

negligently entrusted the vehicle to Defendant Matlock, who is a negligent, reckless, and

incompetent driver. Defendant Quality is vicariously liable for Defendant Matlock's actions.

       16.       Defendant Quality is liable for Defendant Matlock's negligence. Under the

doctrine of Respondeat Superior, an employer is vicariously liable for the negligent acts of an

agent or an employee acting within the scope of his or her employment. Defendant Matlock was

driving a truck belonging to Defendant Quality at the time the accident occurred. Defendant

Matlock's negligence caused the accident and caused the injuries that Plaintiffs have sustained.

As a result, Defendant Quality is vicariously liable.

                                 DAMAGES FOR PLAINTIFFS

       16.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiffs were caused to incur pain and suffering and to incur the following damages:

               A.      Reasonable medical care and expenses in the past. These expenses were
                       incurred by Plaintiffs for the necessary care and treatment of the injuries
                       resulting from the accident complained of herein and such charges are
                       reasonable and were usual and customary charges for such services in
                       Texas;

               B.      Reasonable and necessary medical care and expenses which will in all
                       reasonable probability be incurred in the future;

               C.      Physical pain and suffering in the past;

               D.      Physical pain and suffering in the future;

               E.      Physical impairment in the past;

               F.      Physical impairment which, in all reasonable probability, will be suffered
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                       in the future;

               G.      Loss of earnings in the past;

               H.      Loss of earning capacity which will, in all probability, be incurred in the
                       future;

               I.      Disfigurement in the past;

               J.      Disfigurement in the future;

               K.      Property damages

               L.      Mental anguish in the past; and

               M.      Mental anguish in the future.

                                           JURY TRIAL

       17.     Plaintiffs respectfully request a trial by jury.


       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully pray that the

Defendants be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiffs against Defendants, for damages in an amount within the

jurisdictional limits of the Court; together with pre judgment interest (from the date of injury

through the date of judgment) at the maximum rate allowed by law; post judgment interest at the

legal rate, costs of court; and such other and further relief to which the Plaintiffs may be entitled

at law or in equity.


                                               Respectfully submitted,

                                               Basu Law Firm, PLLC



                                               By: /s/ Adelyn Torres
                                                    Annie Basu
                                                    State Bar No. 24047858

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